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                        IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

 DIANNE COCHRAN
                                        Plaintiff
                          v.

 ULTA SALON, COSMETICS &                            Civil Action No.
 FRAGRANCE, INC.
                                      Defendants 2:20-cv-04997-AB



                               WITHDRAW OF APPEARANCE


TO THE CLERK OF COURT:

       Kindly withdraw my appearance, ONLY, as co-counsel on behalf of Defendant,

ULTA Salon, Cosmetics & Fragrance, Inc., in the above-captioned matter.


                                        Respectfully submitted,



                                        By:
                                              KIERRA BURDA MARTIN, ESQUIRE

Dated: April 18, 2024
